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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

DEPOSITORS INSURANCE COMPANY,
AND ALLIED PROPERTY & CASUALTY
INSURANCE COMPANY

        Plaintiffs,
v.                                              Case No. 8:21-CV-01069-VMC-JSS

WTA TOUR, INC., A CORPORATION, AND
MADISON BRENGLE, AN INDIVIDUAL

      Defendants.
_______________________________________

                          Uniform Case Management Report

       The goal of this case management report is to “secure the just, speedy, and
inexpensive determination of” the action. See Fed. R. Civ. P. 1. Under Local Rule
3.02(a)(2), this case management report should be used in all civil cases except those
described in Local Rule 3.02(d). Individual judges may have additional case
management preferences that can be found under each judge’s name on the Court’s
website, flmd.uscourts.gov/judges/all.

1. Date and Attendees

     The parties may conduct the planning conference “in person, by telephone, or by
     comparable means[.]” See Local Rule 3.02(a)(1).

     The parties conducted the planning conference on 7/16/2021. Ronald L. Kammer
     and Logan G. Haine-Roberts (for Plaintiffs), and Matthew Triggs and Jared M.
     DuBosar (for Defendant, WTA Tour, Inc.) attended the conference.

2. Deadlines and Dates

     The parties request these deadlines and dates:




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   Action or Event                                                                   Date

   Deadline for providing mandatory initial disclosures. See Fed. R. Civ.
                                                                                      8/20/2021
   P. 26(a)(1).

   Deadline for moving to join a party, see Fed. R. Civ. P. 14, 19, and 20,
                                                                                      9/23/2021
   or amend the pleadings, see Fed. R. Civ. P. 15(a).

   Plaintiff’s deadline for disclosing any expert report. See Fed. R. Civ. P.        11/22/2021
   26(a)(2).

   Defendant’s deadline for disclosing any expert report.                            12/22/2021

   Deadline for disclosing any rebuttal expert report.                                1/19/2022

   Deadline for completing discovery and filing any motion to compel
                                                                                       2/1/2022
   discovery. See Fed. R. Civ. P. 37; Middle District Discovery (2021).

   Deadline for moving for class certification, if applicable. See Fed. R.                N/A
   Civ. P. 23(c).

   Deadline for filing any dispositive and Daubert motion. See Fed. R. Civ.
                                                                                      3/11/2022
   P. 56. (Must be at least five months before requested trial date.)

   Deadline for participating in mediation. See Local Rules, ch. 4.                   2/25/2022
   John W. Salmon of Salmon & Dulberg Dispute Resolution

   Date of the final pretrial meeting. See Local Rule 3.06(a).                        8/15/2022

   Deadline for filing the joint final pretrial statement, any motion in
   limine, proposed jury instructions, and verdict form. See Local Rule               8/22/2022
   3.06(b). (Must be at least seven days before the final pretrial conference.)

   Date of the final pretrial conference. See Fed. R. Civ. P. 16(e); Local
                                                                                      8/29/2022
   Rule 3.06(b).

   Month and year of the trial term.                                                  September
                                                                                        2022


   The trial will last approximately 3-5 days and be
   ☒ jury.
   ☐ non-jury.




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3. Description of the Action

    This is an insurance coverage dispute. Plaintiffs and WTA entered into insurance
    contracts. This dispute concerns whether, under those contracts, Plaintiffs have a
    duty to defend WTA in an action brought by Madison Brengle, whether there has
    been a breach of that duty to defend, and, if so, what damages WTA has sustained.

4. Disclosure Statement
   ☒ The parties have filed their disclosure statement as required by Federal Rule of
   Civil Procedure 7.1 and Local Rule 3.03.

5. Related Action
   ☒ The parties acknowledge their continuing duty under Local Rule 1.07(c) to
   notify the judge of a related action pending in the Middle District or elsewhere by
   filing a “Notice of a Related Action.” No notice need be filed if there are no related
   actions as defined by the rule.

6. Consent to a Magistrate Judge

    “A United States magistrate judge in the Middle District can exercise the maximum
    authority and perform any duty permitted by the Constitution and other laws of the United
    States.” Local Rule 1.02(a). With the parties’ consent, a district judge can refer any civil
    matter to a magistrate judge for any or all proceedings, including a non-jury or jury trial.
    28 U.S.C. § 636(c).

    The Court asks the parties and counsel to consider the benefits to the parties and the Court
    of consenting to proceed before a magistrate judge. Consent can provide the parties
    certainty and flexibility in scheduling. Consent is voluntary, and a party for any reason
    can decide not to consent and continue before the district judge without adverse
    consequences. See Fed. R. Civ. P. 73(b)(2).

    ☐ The parties do consent and file with this case management report a completed
    Form AO 85 “Notice, Consent, and Reference of a Civil Action to a Magistrate
    Judge,” which is available on the Court’s website under “Forms.”
    ☒ The parties do not consent.

7. Preliminary Pretrial Conference
   ☒ The parties do not request a preliminary pretrial conference before the Court
   enters a scheduling order.
    ☐ The parties do request a preliminary pretrial conference, and the parties want to
    discuss



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8. Discovery Practice

   The parties should read the Middle District Discovery Handbook, available on the Court’s
   website at flmd.uscourts.gov/civil-discovery-handbook, to understand discovery practice
   in this District.

   ☒ The parties confirm they will comply with their duty to confer with the opposing
   party in a good faith effort to resolve any discovery dispute before filing a motion.
   See Local Rule 3.01(g); Middle District Discovery (2021) at § I.A.2.

9. Discovery Plan

   The parties submit the following discovery plan under Rule 26(f)(2):

   A.   The parties agree to the timing, form, or requirement for disclosures under
        Rule 26(a):
        ☒ Yes.
        ☐ No; instead, the parties agree to these changes: .

   B.   Discovery may be needed on these subjects: list the subjects.

   C.   Discovery should be conducted in phases:
        ☒ No.
        ☐ Yes;

   D. Are there issues about disclosure, discovery, or preservation of
      electronically stored information?
       ☒ No.
       ☐ Yes;

   E.   ☒ The parties have considered privilege and work-product issues,
        including whether to ask the Court to include any agreement in an order
        under Federal Rule of Evidence 502(d).

   F.   The parties stipulate to changes to the limitations on discovery imposed
        under the Federal Rules of Civil Procedure and Local Rule 3.04 or other
        limitations:
         ☒ No.
         ☐ Yes;

10. Request for Special Handling


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    ☒ The parties do not request special handling.
    ☐ The parties request special handling. Specifically, .
    ☐ Enter party’s name unilaterally requests special handling. Specifically, .

11. Certification of familiarity with the Local Rules
    ☒ The parties certify that they have read and are familiar with the Court’s Local
    Rules.

12. Signatures

/s/ Logan G. Haine-Roberts                         /s/Matthew Triggs
 Ronald L. Kammer                                  Matthew Triggs
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 rkammer@hinshawlaw.com                            Jared M. DuBosar
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